     Case 3:17-cv-01127-WQH-KSC Document 63 Filed 05/18/18 PageID.777 Page 1 of 2



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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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      KENNETH J. MOSER, individually and on          CASE NO.: 17-cv-1127-WQH-KSC
11
      Behalf of All Others Similarly Situated,
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13                     Plaintiff,                    ORDER OF DISMISSAL OF:
           v.                                        (1) PLAINTIFF’S CLAIMS AGAINST
14                                                   UNIFIED LIFE INSURANCE
15    HEALTH INSURANCE INNOVATIONS,                  COMPANY; AND, (2) UNIFIED LIFE
      INC., a Delaware Corporation, NATIONAL         INSURANCE COMPANY’S
16    CONGRESS OF EMPLOYERS, INC., a                 COUNTERCLAIMS AGAINST
17    Delaware Corporation, UNIFIED LIFE             PLAINTIFF
      INSURANCE COMPANY, a Texas
18    Corporation, COMPANION LIFE
19    INSURANCE COMPANY, a South Carolina
      Corporation, DONISI JAX, INC. a/k/a
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      NATIONWIDE HEALTH ADVISORS, a
21    Florida Corporation, CHARLES DONISI, an
      individual, EVAN JAXTHEIMER, an
22
      individual, HELPING HAND HEALTH
23    GROUP, INC., a Florida Corporation,
24    ANTHONY MARESCA, an individual, and
      MATTHEW HERMAN, an individual,
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26                     Defendants.
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                                                            CASE NO. 17-CV-1127-WQH-KSC
     Case 3:17-cv-01127-WQH-KSC Document 63 Filed 05/18/18 PageID.778 Page 2 of 2



 1                                    ORDER OF DISMISSAL
 2          In accordance with Federal Rules of Civil Procedure Rules 41 (a) (2) and (c),
 3    Plaintiff KENNETH J. MOSER (“Plaintiff”) and Defendant UNIFIED LIFE
 4    INSURANCE COMPANY, INC. (“Unified”) have filed a Joint Motion to Dismiss, with
 5    prejudice, all of Plaintiff’s claims against Unified; and, all of Unified’s counterclaims
 6    against Plaintiff in this action. Good cause appearing therefor, it is hereby ORDERED
 7    that: (1) all claims brought by Plaintiff against Unified; and, (2) all counterclaims brought
 8    by Unified against Plaintiff, are hereby DISMISSED, with prejudice.
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10          IT IS SO ORDERED.
11    Dated: May 18, 2018
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                                                                 CASE NO. 17-CV-1127-WQH-KSC
